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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

COMMITTEE FOR A FAIR AND                         )
BALANCED MAP, et al.,                            )
                                                 )
                  Plaintiffs,                    )
v.                                               )    Case No. 1:11-cv-05065
                                                 )
ILLINOIS STATE BOARD OF ELECTIONS,               )    Judge Joan Humphrey Lefkow
et al.,                                          )    Judge John Daniel Tinder
                                                 )    Judge Robert L. Miller
                  Defendants.                    )


                    PLAINTIFFS’ NOTICE OF SUPPLEMENTAL FILING
              OF EXHIBIT A71 TO APPENDIX TO PLAINTIFFS’ MEMORANDUM
             IN SUPPORT OF THEIR MOTION FOR A PERMANENT INJUNCTION

         PLEASE TAKE NOTICE THAT plaintiffs hereby file the November 10, 2011

Supplemental Expert Report by Dr. Richard L. Engstrom, attached hereto, as Exhibit A71 to the

Appendix to Plaintiffs’ Memorandum In Support of Their Motion for a Permanent Injunction

(Dkt. 106). Defendants filed Dr. Allan J. Lichtman’s November 14, 2011 supplemental report as

an attachment to their memorandum in opposition to Plaintiffs’ Motion for a Permanent

Injunction (Dkt. 128).


Dated: November 15, 2011                             By: /s/ Lori E. Lightfoot

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   EXHIBIT A71

   November 10, 2011
  Supplemental Expert
  Report by Richard L.
       Engstrom
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                                           Adjusted
                                           Table 1

                        Multivariate Analyses of County-Wide Elections
                                 and Chicago Mayoral Election

                             Group Support for Latino Candidates
                           Point Estimates and Confidence Intervals#



Election                         % of Latino       % of African        % of Other
                                   Voters         American Voters        Voters


2010 Dem Primary

   Assessor

     Berrios + Figuerroa              91.2               35.6               81.3
                                   89.3 – 93.1        30.1 – 40.9        79.8 – 82.7

     Berrios                          59.8               26.4               50.7
                                   55.9 -- 63.8       21.6 – 31.1        48.3 – 53.1

2008 Dem Primary

   State’s Attorney

     Alvarez                          73.3               16.3               23.1
                                   70.0 – 76.7        14.0 – 18.7        22.0 – 24.3

2011 Chicago Municipal

   Mayor

     Chico + DelValle                 79.7               7.2                49.2
                                   75.8 – 83.7        4.0 – 10.4         47.1 – 51.3

     Chico                            44.8               5.4                39.5
                                   41.1– 48.6          3.0 – 7.8         37.1 – 41.9

# Confidence intervals contain a range of estimates from which we can be 95 percent confident,
given the data, that the true value of the percentage being estimated will fall.
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                                             Adjusted
                                             Table 2

                       Bivariate Analyses of District and Subcircuit Elections

                               Group Support for Latino Candidates
                             Point Estimates and Confidence Intervals#


Election                                    % of Latino              % of Other
                                              Voters                  Voters

2010 Dem Primary

   Co Board, D. 16

     Garcia                                     75.8                     10.2
                                            66.9 -- 86.1               8.5 – 12.0

   Circuit Ct Sub. 11

     Martinez                                   73.8                      12.3
                                            65.3 – 83.5                10.5 – 14.3

2008 Dem Primary

   Circuit Ct Sub. 4

       Aguilar                                 76.4                       12.0
                                            66.1 – 88.0                10.0 – 14.0


   Circuit Ct Sub. 6

       Araujo                                   59.6                      16.4
                                            54.5 – 65.0                13.0 – 19.8

2006 Dem Primary

   Circuit Ct Sub. 6

       Ocasio                                   55.2                      41.3
                                            49.5 – 61.4                34.9 – 47.8

# Confidence intervals contain a range of estimates from which we can be 95 percent confident,
given the data, that the true value of the percentage being estimated will fall.
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                                           Adjusted
                                           Table 3

                        Multivariate Analyses of County-Wide Elections

                            Group Support for Latino Candidates
                          Point Estimates and Confidence Intervals#



Election                         % of Latino       % of African        % of Other
                                   Voters         American Voters        Voters


2010 Dem Primary

   Circuit Court

     Ramos                            90.6               21.9               21.0
                                   87.6 – 93.8        18.4 – 25.6        19.4 – 22.7


2008 Dem Primary

   Circuit Court

     Reyes                            90.5               61.5               41.9
                                   88.3 – 92.7        58.0 – 65.0        39.8 – 43.9

2010 General Election

   Assessor

     Berrios                          82.6               77.8               32.4
                                   75.9 – 90.1        68.1 – 89.4        30.4 – 34.4

2008 General Election

   State’s Attorney

     Alvarez                          89.1               88.7               58.1
                                   86.8 – 91.5        85.2 – 92.2        56.3 – 59.8

# Confidence intervals contain a range of estimates from which we can be 95 percent confident,
given the data, that the true value of the percentage being estimated will fall.
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                                           Adjusted
                                           Table 4

                    Multivariate Analyses of Chicago City Clerks Elections

                            Group Support for Latino Candidates
                          Point Estimates and Confidence Intervals#



Election                         % of Latino       % of African        % of Other
                                   Voters         American Voters        Voters


2007

   City Clerk

       De Valle                       94.7               35.6              72.8
                                   93.1 – 96.3        28.8 – 41.8       71.3 – 74.3


2011

   City Clerk

       Mendoza                        94.0               30.8              72.7
                                   92.5 – 95.6        26.1 – 35.4       70.6 – 74.7



# Confidence intervals contain a range of estimates from which we can be 95 percent confident,
given the data, that the true value of the percentage being estimated will fall.
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                              Attachment A- Reaggregation of Votes in Districts (%)



                                       Adopted CD 4                 Fair Plan CD4                 Fair Plan CD3



2010 GE Assessor

         Berrios                              54.6                        53.3                          47.4

                                       Margin = 26.4                Margin = 24.4                 Margin = 10.8

2008 GE State’s Attn

          Alvarez                                      75.4                         72.8                          72.0

                                       Margin = 56.3                Margin = 49.8                 Margin = 49.7



2010 D Pri Assessor

         Berrios                              50.7                         53.4                         49.3

         Figuerroa                            34.4                         27.5                         31.3

         Combined                             85.1                         80.9                         80.6

2008 D Pri State’s Attn

         Alvarez                              48.2                        42.8                          37.4

                                       Margin = 21.7                Margin = 14.0                 Margin = 4.1

2010 D Pri Circuit Ct (countywide)

         Ramos                                59.0                        45.8                           45.5

                                       Margin = 40.7                Margin = 19.9                 Margin = 24.8

2008 D Pri Circuit Ct                         69.5                        64.0                           62.5



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Margin = percentage point difference from candidate receiving second highest vote.
